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Attorneys for Christopher Hook

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

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ALAN BAKER, LINDA B. OLIVER, Case No. 2:19-cv-08024-ODW-JC

Plaintiffs, CHRISTOPHER HOOR’S EX
PARTE APPLICATION FOR
V. LEAVE TO FILE RESPONSE

ALLSTATE INSURANCE Judge: Hon. Hon. Otis D. Wright II
COMPANY, EDWARD CARRASCO, | Cttm:: 5D
and DOES | through 10, inclusive,

Defendants.

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mn BR WH NO KF

Trial Date: None set

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ON

 

 

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On December 19, 2019, the Court issued an order for Defendant Allstate

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Insurance Company to file a memorandum of costs and fees and a proposed order

N
So

with the Court within fourteen days relating to monetary fees sanctions requested to

N
—

be imposed against Christopher Hook. The Court, however, did not include in its

No
No

order an opportunity for Mr. Hook to respond.

N
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On December 31, 2019, Allstate filed a memorandum of costs and fees and a

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supporting declaration of Peter Klee. Mr. Klee has indicated that Allstate will not

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object to Mr. Hook or his counsel responding to the submission. Mr. Hook therefore

NO
ON

requests fourteen days to file a response to the imposition and amount of sanctions

N
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requested by Allstate. Accordingly, if this application is granted, his response would

N
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be due on January 14, 2020. Permitting a reasonable time to respond would be

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CHRISTOPHER HOOK’S EX PARTE APPLICATION FOR LEAVE TO FILE RESPONSE

 

 

 
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Case

So HN HD OH FP WY YN

NO po WN HN NHN HN HP HN HNO Re Re Re RP eRe ee ee
CoN DN OH SFP WD NY KH ODO BO DA nAN DB A BP WD NY KF CO

 

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consistent with the general procedural requirements for imposition of sanctions. See
Nuwesra v. Merrill Lynch, Fenner & Smith, Inc., 174 F.3d 87 (2d Cir. 1999) ( “In
particular, ‘a sanctioned attorney must receive specific notice of the conduct alleged
to be sanctionable and the standard by which that conduct will be assessed, and an
opportunity to be heard on that matter.’ (citing Ted Lapidus, S.A. v. Vann, 112 F.3d
91, 97 (2d Cir. 1997) ); accord Miller v. Cardinale (In re DeVille), 361 F.3d 539,
548 (9th Cir. 2004).

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DATED: January 3, 2020 By: /s/ David Majchrzak

 

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CHRISTOPHER HOOK’S EX PARTE APPLICATION FOR LEAVE TO FILE RESPONSE

 
